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Jeanne M. Christensen
jchristensen@wigdorlaw.com

September 7, 2023

Susan Estrich
Estrich Goldin LLP
8605 Santa Monica Blvd
West Hollywood, CA 90069

         Re:      Jane Doe v. Leon Black; Case No. 23-cv-06418 (S.D.N.Y.)

Dear Susan:

We write in response to your August 25, 2023 letter contending that Plaintiff Jane Doe’s Complaint
filed against Leon Black (“Black”) violates Federal Rule of Civil Procedure 11, and threatening to
file a motion for sanctions unless Ms. Doe withdraws her Complaint. Black’s threatened motion
is premature and frivolous, and you, Quinn Emanuel, and Perry Law (“Black’s Counsel”) should
be chastised for serving notice of a Rule 11 motion that you know has no chance of being granted.
It is unprofessional and discourteous to use a frivolous threat of sanctions to attempt to intimidate
and retaliate against Ms. Doe and her counsel. Such conduct should have no place in the practice
of law. However, as this is Black’s third retaliatory sanctions threat against Wigdor LLP
(“Wigdor”) in less than a year, made by this same group of lawyers, you know this already.1

Because your threat to file the motion for sanctions is improper pursuant to well-settled Second
Circuit precedent, we place you on notice that if filed, we will seek all available remedies against
Black’s Counsel and Black. The proposed motion has no chance of success, and therefore Black’s
Counsel will be subject to sanctions for filing a frivolous motion. “The filing of a motion for
sanctions is itself subject to the requirements of the rule and can lead to sanctions.” Rule 11
Advisory Committee Note; Koar v. United States, No. 96 CIV. 5166 (KMW), 1997 WL 1038181,
at *2 n.2 (S.D.N.Y. Sept. 2, 1997) (“[T]he making of a frivolous Rule 11 motion can itself result
in sanctions against the movant.”’). The likelihood of Black’s Counsel and Black receiving
sanctions is increased by the fact that the threats come on the heels of a retaliatory malicious
prosecution complaint filed against Wigdor based in part on this action filed by Ms. Doe. Coupled
with the complete absence of legal or factual merit underlying a Rule 11 motion, we are confident
the Court will view Black’s efforts as an overt attempt to intimidate Ms. Doe and Wigdor, thereby
leading to sanctions against Black’s Counsel and Black, and the recovery of reasonable expenses,
including attorneys’ fees, that we incur in defending against your frivolous motion.2

1
          We are certain that you have explained to Black that complaints asserting civil RICO claims, such as the one
he filed against Wigdor in October 2021 are unique and distinguishable in that Rule 11 motions can be appropriate at
the initial stage of litigation.
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          We recognize, as will the Court, that a potential sanctions penalty is virtually meaningless to Black, who
ranked No. 78 on Forbes’ Billionaire list in August 2023. This is one more reason why Black, flouting adherence to
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I.      Rule 11 Threat is Premature and Improper Under Well-Settled Law

As with Black’s motion for sanctions in Ganieva v. Black, Index No.155262/2021 and Pierson v.
Black, Index No. 952002/2022, the entire basis of Black’s position that Rule 11 sanctions are
warranted is because Black denies the allegations in the Complaint filed by Ms. Doe. Black’s
mere denial of the allegations cannot possibly form the basis for a motion for sanctions. As you
know, contesting facts in dispute would not even form the basis for a motion for summary
judgment. See Tobia v. The United Grp. of Cos., Inc., No. 15 Civ. 1208 (BKS)(DEP), 2016 WL
5417824, at *27 (N.D.N.Y. Sept. 22, 2016) (holding that a Fed. R. Civ. P. 11 motion cannot act as
a vehicle for a defendant’s request that a court resolve contested factual disputes that could only
“be fully evaluated on a motion for summary judgment”). Despite this truth, Black, and you as his
counsel, are doing nothing more than wasting the Court’s time by asking it to prejudge the merits
of Black’s denials relating to his conduct. Under well-settled precedent this is a blatant abuse of
the Rule 11 process. See, e.g., Hernandez v. Miller, No. 22-CV-6964 (VSB), 2022 WL 17584025
(S.D.N.Y. Dec. 12, 2022).

In Hernandez, the court recognized that courts deny Rule 11 motions as premature when the
motion would force a court to prejudge the merits of a party’s legal arguments, “in the case of
pleadings the sanctions issue under Rule 11 normally will be determined at the end of the litigation,
and in the case of motions at the time when the motion is decided or shortly thereafter.” Id. at *1
(quoting Chambers v. NASCO, Inc., 501 U.S. 32, 56 n.19 (1991)). For this reason, numerous other
courts in this district have denied Rule 11 motions filed before summary judgment or trial. See,
e.g., Yousef v. Al Jazeera Media Network, No. 16-CV-6416 (CM), 2018 WL 6332904, at *2
(S.D.N.Y. Oct. 31, 2018) (denying a Rule 11 motion where the merits of the case had not yet been
resolved); Sang Lan v. Time Warner, Inc., No. 11-CV-2870 (AT), 2015 WL 4469838, at *2
(S.D.N.Y. July 13, 2015) (“I decline to consider this [Rule 11] motion until the plaintiff’s claims
are addressed on their merits through an appropriate dispositive motion or at trial.”); Safe-Strap
Co. v. Koala Corp., 270 F. Supp. 2d 407, 419 (S.D.N.Y. 2003) (denial of Rule 11 motion as
premature where ruling on the motion would have amounted to a ruling on the merits of the case
before a motion to dismiss or summary judgment proceeding); Baskin v. Lagone, No. 90-CV-5478
(RPP), 1993 WL 59781, at *6 (S.D.N.Y. Mar. 3, 1993) (denied Rule 11 motion where it was
“premature to ascertain[ ] that the Plaintiffs’ Amended Complaint is not grounded in fact or
warranted by existing law, as Rule 11 requires before sanctions can be imposed.”) .

Indeed, even when a court is faced with a frivolous action, it should consider dismissal through
dispositive motions such as summary judgment as a “first option” and only resort to “the
imposition of sanctions ... [as] a choice of last resort.” Safe-Strap Co. v. Koala Corp., 270 F. Supp.
2d at 419. The proper vehicle for testing the merits of an initial complaint is for a defendant to file

the Federal Rules because he believes he is above the law, has opted to engage in motion practice that wastes already
limited judicial resources. Paying your firm, Quinn Emanuel and Perry Law to file such baseless motions is of no
consequence to Black, who, for example, paid Jeffrey Epstein $158 million for “tax advice” even though Epstein is
not a tax expert or lawyer.
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a motion to dismiss, not a Rule 11 motion. Because of the well-settled precedent, courts faced
with similar duplicative and premature Rule 11 motions have warned attorneys “to consider
carefully the prudence of engaging in extensive and duplicative motion practice.” Luv N’ Care,
Ltd., No. 16-CV-3179 (AJN), 2017 WL 3671039, at *13, 16 (S.D.N.Y. Aug. 8, 2017) (“Only after
discovery has been completed will the Court properly have before it evidence regarding the
veracity of Plaintiffs’ allegations.”) (collecting cases).3

Notably, the cases cited in your letter do not involve pre-discovery sanctions. For example, in
Abdelhamid v. Altria Grp., Inc., 515 F. Supp. 2d 384, 398-99 (S.D.N.Y. 2007), the court found an
amended complaint sanctionable where the allegations “were directly contradicted by the
deposition testimony” of defendants. Similarly, in In re Sony Corp. SXRD Rear Projection
Television Mktg., Sales Pracs. & Proc. Liab. Litig., 268 F.R.D. 509, 511 (S.D.N.Y. 2010), the
court found a complaint sanctionable where deposition testimony from confidential witnesses
“directly contradicted the statements attributed to them” in the amended complaint). Even more
inapposite is Saltz v. City of New York, 129 F. Supp. 2d 642, where a sanctions motion was filed
after the close of discovery and after a motion for summary judgment, and Chien v. Skystar Bio
Pharm. Co., 256 F.E.D. 67, 74 (D. Conn. 2009), where material falsehoods were made clear in
light of defendant’s request for judicial notice of documents that disproved the allegations in the
complaint. Here, despite your efforts to gather affidavits from parties that are averse to Plaintiff
as “evidence” that her allegations are not true, there is no evidence before the Court that would
disprove our allegations on their face, yet alone show that there was anything unreasonable in
filing the action.

As stated, we will seek all available remedies in the event that Black and Black’s Counsel takes
this glaringly inappropriate course of action. Simply put, Rule 11 should not be used where “other
motions are available for those purposes,” “should not be employed as a discovery device or to
test the legal sufficiency or efficacy of allegations in the pleadings,” and should not be used “to
emphasize the merits of a part’s position” or “to intimidate an adversary into withdrawing
contentions that are fairly debatable.” Advisory Committee Notes to 1993 Amendments to Rule
11. Sanctions should be imposed only “‘where it is patently clear that a claim has absolutely no
chance of success.’” Caisse Nationale de Credit Agricole–CNCA v. Valcorp, Inc., 28 F.3d 259,
264 (2d Cir. 1994) (quoting Healey v. Chelsea Res., Ltd., 947 F.2d 611, 626 (2d Cir. 1991)).

As Black’s Counsel, aside from the substantive reasons why you know there is no basis for to file
a Rule 11 motion, you also know that the threatened motion, if filed, is procedurally improper. At

3
         See further Herrera v. Scully, 143 F.R.D. 545, 552 (S.D.N.Y. 1992) (“[T]his request for Rule 11 sanctions is
premature because the Court is not in a position to make a definitive finding pursuant to the Rule without having the
complete evidence . . . before it”); See generally Helios Int’l S.A.R.L. v. Cantamessa USA, Inc., 23 F. Supp. 3d 173,
194 (S.D.N.Y. 2014) (“[S]atellite issues [under Rule 11] are best resolved in connection with the ultimate conclusion
of the litigation.”); Sound Video Unlimited, Inc. v. Video Shack Inc., 700 F. Supp. 127, 149 (S.D.N.Y. 1988)
(“[S]anctions under Rule 11 normally will be determined at the end of litigation.”); cf. Safe-Strap Co., Inc. v. Koala
Corp., 270 F. Supp. 2d 407, 412-21 (S.D.N.Y. 2003) (concluding that Rule 11 may not be used as a “substitute” or
“surrogate” for summary judgment, and that Rule 11 issues would be revisited at the end of the case).
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this stage of the legal proceedings, the Court is required to assume that Plaintiff’s allegations are
true. Abundant case law makes clear that your attempt to circumvent this basic rule through a
Rule 11 motion is destined for failure. Indeed, as discussed above, it is grounds to subject you and
your client to sanctions. Despite Black’s contrary version of facts about what happened, you also
know that the letter’s repeated reference to and reliance upon extrinsic evidence outside of the four
corners of the Complaint will not be considered by the Court. See, e.g., McCarthy v. Dun &
Bradstreet Corp., 482 F.3d 183, 191 (2d Cir. 2007) (a court’s review is limited to “the facts
asserted within the four corners of the complaint, the documents attached to the complaint as
exhibits, and any documents incorporated in the complaint by reference”). Because your
threatened motion will be based entirely on information (none of which is accurate) that you have
gathered outside of the Complaint, it is not appropriate to use that information for your intended
purpose. This is nothing more than Black using the Rule 11 vehicle as an opportunity to present
his version of events to the Court and to the public when he would otherwise be unable to do so
under the Federal Rules. “To grant a sanctions motion at this stage . . . would be an end-run around
the axiomatic legal principle that a Court must assume that the Plaintiffs’ allegations are true and
may only consider the complaint and a limited category of other information at the motion to
dismiss stage . . . .” Luv N’ Care, Ltd., 2017 WL 3671039, at *13. You fail to cite a single case,
nor can you, that supports your false claim that prior to discovery, the Court will accept Black’s
version of the facts as the complete and unvarnished truth.

In addition, your letter cites case law that is outdated and has been overturned, undermining the
credibility of the entirety of your argument. For example, contrary to your assertion, Rule 11
sanctions are not mandatory, but discretionary; amendments made to the Federal Rules nearly
twenty years ago make clear that the imposition of sanctions is always a matter for the court’s
discretion. See Perez v. Posse Comitatus, 373 F.3d 321, 325 (2d Cir. 2004); Ipcon Collections
LLC v. Costco Wholesale Corp., 698 F.3d 58, 63 (2d Cir. 2012) (noting that cases decided before
the 1993 amendments to rule 11 are “no longer good law on this issue,” because “[i]n short,
sanctions under Rule 11 are discretionary, not mandatory”).4 Any decision to impose sanctions
must be “made with restraint and discretion.” Baffa v. Donaldson, Lufkin & Jenrette Sec. Corp.,
222 F.3d 52, 57 (2d Cir. 2000) (citation omitted).

II.     Black’s Rule 11 Threat is Retaliatory

Black’s claims that Ms. Doe’s allegations are false center on his blanket denials. Because Black
denies that he raped her, he believes that he can file sanctions. Just as he did with Cheri Pierson’s
claims, Black simply says she must be “lying” because he did not do it. But once again, he
mistakenly believes that this position is a basis for issuing a retaliatory sanctions motion through

4
         Further, your citations to ASTI Commc’ns, Inc. v. Shaar Fund, Ltd., 579 F.3d 143 (2d Cir. 2009) and Mason
Agency Ltd. v. Eastwind Hellas SA, 2009 WL 3169567 (S.D.N.Y. Sept. 29, 2009) do not support your position. Those
cases arose in the context of the Private Securities Litigation Reform Act of 1995 (“PSLRA”) and the Supplemental
Rules of Civil Procedure for Certain Admiralty and Maritime Claims, respectively. Both the PSLRA and the
Supplemental Rules impose their own, heighted, non-discretionary standards for the imposition of sanctions, and
therefore neither case can be applied to the instant circumstances.
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                 claims before even filing a lawsuit, Wigdor curiously filed a scandalous
                 public complaint in the underlying case here without ever making a
                 settlement demand. This time, Wigdor followed its usual playbook,
                 threatening to file wholly unsupported claims unless Black paid an
                 exorbitant settlement. When he refused, Wigdor filed yet another baseless
                 lawsuit.

                The pattern repeated again. In July 2023, Wigdor confronted Black with yet
                 another fabricated allegation of a decades-old sexual assault offering to
                 quietly make the allegation go away—for a price. Upon information and
                 belief, Wigdor was warned by others that the new “Jane Doe” claims were
                 fraudulent and baseless. Despite this warning, Wigdor not only accepted
                 Doe as a client, but threatened to file a false and salacious complaint on her
                 behalf unless Black paid a princely sum. When Black once again refused to
                 capitulate to Wigdor’s outrageous financial demands, Wigdor filed Doe v.
                 Black, 23-cv-6418 in the Southern District of New York, enveloping Black
                 in a media storm of false allegations, just as Wigdor had threatened to do.

                Wigdor has not substantiated a single allegation in any of the complaints it
                 has filed. Wigdor has shown itself to be nothing but a bottom feeder, who
                 represents claimants and asserts claims that no plaintiff’s firm with even a
                 shred of legitimacy ever would.

The proposed Rule 11 motion is being used to harass and threaten Ms. Doe and Wigdor, not
challenge the Complaint’s legal sufficiency. We are not strangers to litigating cases against
defendants that believe that they operate outside of, and above, the legal rules of procedure that
apply to all parties. Given Black’s repeated attempts to attack any plaintiff who alleges sexual
assault against him, as evidenced most recently by your client’s meritless case against Wigdor for
malicious prosecution, we are confident the Court will see any attempt to sanction this Complaint
as a vexatious attempt to delay the prosecution of Plaintiff’s claims. Based on the above, it is clear
that your threatened motion is precisely the type of conduct that Rule 11 seeks to deter, “dilatory
or abusive tactics.” If filed, your motion will constitute a blatant abuse of Rule 11, will waste
judicial resources and our firm will have no choice but to hold Black and Black’s Counsel
accountable to intentional, abusive tactics to the fullest extent under the law.

Sincerely,


Jeanne M. Christensen
